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U'NITED STATES DISTRICT COURT _________~....-_--_
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SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

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UNITED STATES OF AMERICA,
16-cr-746 (PKC)
~against- MEMORANDUM
AND ORDER
DAVID BERGSTEIN,
Det`endant.

___________________________________________________________ X

CASTEL, Senior District Judge:

Det`endant David Bergstein applied to the Couit pursuant to Rule 17(c), Fed. R.
Crini. P., for the issuance of various subpoenas duces tecum. (Dl<ts. 98, 143). The Court
authorized the issuance of eight subpoenas (Dkts. 145, 149). The government now moves to
quash the subpoenas that Bergstein served on Albert I-Ialiac, a cooperating government Witness,
and Keith Weliner, a cooperating government Witness Who Was until recently Bei'gstein’s co-
defendantl (Dkt. 163). For the reasons that Will be explained, the Court grants the
government’s motion as to the subpoenas to Hallac and Weliner.

BACKGROUND

Bergstein is charged in a seven-count indictment With securities fraud, investment
advisor fraud, Wire fraud, and conspiracy to commit all three, in Vioiation of 15 U.S.C. §§ 78j (b),
7Sff, 80b-6, 80b-17, 18 U.S.C. §§ 371, 1343, 1349, and 17 C.F.R. §240.101)~5. (Dkt. l). The

indictment charges Bergstein With conspiring With Hallac, the President of Weston Capitai Asset

 

f The government in its reply brief to the instant motion, moved to quash a third Rule l’/'(c) subpoena that Bergstein
served on another individual, Paul Parrnar, on the same grounds argued in this motion (Dkt. 174)_ Bergstein
opposes the motion as to Parmar in both form and substance (Dkt. 17 9). The Court reserves its decision with
respect to the govennnent’s motion to quash the subpoena directed to Parmar.

 

Case 1:16-cr-OO746-PKC Document 182 Filed 12/28/17 Page 2 of 10

Management (“Weston”)? and Wellner, Weston’s General Counsel, Chiet` Operating Officer, and
Chief Compliance Ofticer, to defraud investors in three different Weston funds: the Class TT
Portfolio (the “TT Portfolio”), the Wirnbledon Financing Master Fund Ltd. (“WFF”), and the
Partners 2 Fund (the “PZ Fund”). (E)

On or about May 2, 2017, Bergstein’s counsel requested ex parte the Court’s
permission to tile an application under seal for the issuance of trial subpoenas pursuant to Rule
l7(c), Fed. R. Crirn. P. (cht. 98). On or about October 19, 2017, Bergstein’s counsel made a
similar request With respect to a second group of Rule l7(c) subpoenas (Dl<;t. 143). The Court
granted Bergstein a right to tile the motions expense and under seal (Dl<ts. 98, 143), but noted
that the Court Would “consider the propriety of continued sealing” upon review of the full
request (Dl<rt. 143). in total, Bergstein applied for nearly fifty such subpoenas (Dl<t. 145).

In Orders dated October 25 and October 27, 2017, the Court notified the parties of
its issuance of eight such subpoenas “Without prejudice to the rights of the subpoenaed persons
or entities.” (chts. 145, 149). The Court rejected the remaining applications because Bergstein
failed to make the required factual showing, including “vvhy he cannot properly prepare for trial
Without the subpoenaed documents,” and failed to avoid a “fishing expedition.” (l<L). On
December 6, 2017, the government filed the instant motion to quash two of the eight issued
subpoenas (cht. 163). Bergstein filed his opposition on December ll, 2017. (Dkt. 164). The
same day, the Court approved an ex parte request from Bergstein to tile a sealed, ex parte
supplement to his opposition The government filed its reply on Decernber 19, 2017. (Dl<:t. 174).

As noted, the instant motion challenges the subpoenas directed to cooperating

Witnesses Hailac (the “Hallac Supoena”) and Wellner (the “Wellner Subpoena”) (together, the

 

 

Case 1:16-cr-OO746-PKC Document 182 Filed 12/28/17 Page 3 of 10

“Subpoenas”). (cht. 163). The Hallac Subpoena requires Hallac to produce three categories of

documents and things, referencing terms defined elsewhere:

1. ALL DOCUMENTS showing the return or loss to investors in
WFMF, WIMBLEDON TT, and/or the P2 FUND from lone 1,
2011 to the present.

2. ALL COMi\/IUNICATIONS Witli investors in WFMF,
WIMBLEDON TT, and/or the 132 FUND explaining or
demonstrating the return or loss on their investment with

` WFW from lurie 1, 2011 to the present.

3. All COMMUNICATIONS With WELLNER or Jason Galanis
regarding Gerova Financial Group Ltd., BERGSTEIN, the P2
FUND, WFMF, or Fund.coin.

(Dl<;t. 163, EX. A) (capitalization in original). The Wellner Subpoena requires Wellner to
produce nine categories of documents and things, referencing terms defined elsewhere:

1. All DOCUMENTS reflecting any PAYNLENTS received on
account of the assets of WFMF from luly 1, 2011 to the
present

2. All DOCUMENTS reflecting the disposition of any
PAYMENTS received on account of the assets of WFMF from
July l, 2011 to the present

3. All COMMUNICATIONS With BERGSTEIN.

4. All COMMUNICATIONS With PARMAR from lurie 1, 2011
to the presentl

5. All COl\/ll\/IUNICATIONS regarding ARIUS, PINEBOARD,
MD TABLET, PARMAR, or BERGSTEIN.

6. ALL DOCUD£ENTS showing the return or loss to investors in
WW, WIMBLEDON TT, and/or the P2 FUND from June 1,
2011 to the present

7. ALL COMMUNICATIONS With investors in WFl\/[F,
WIMBLEDON TT, and/or the P2 FUND, explaining or
demonstrating the return or loss on their investment with
WFMF from June 1, 2011 to the present.

8. All COl\/ll\/IUNICATIONS With HALLAC regarding G~erova
Financial Group, Ltd., BERGSTEIN, WFMF, the P2 FUND,
WIMBLEDON TT, cr Fund.com

9. All COMMUNICATIONS With lason Galanis regarding
Gerova Financial Group Ltd., BERGSTEIN, WFMF, the P2
FUND, WIBLEDON TT, or Fund.com.

(Dkt. 163, EX. B) (capitalization in original).

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 4 of 10

DlSCUSSION
l. Standing

The parties dispute whether the government has standing to move to quash the
Subpoenas on behalf of non-parties Courts in the Second Circuit have acknowledged that the
government has standing to challenge a Rule l7(c) subpoena directed to a non-party when the
subpoenaed party authorizes the government to assert his or her rights by request, by indicating
its joinder in a motion to quash, or by forwarding responsive material to the government E ,
United States v. Martcma, 962 F. Supp. 2d 602, 605 n.4 (S.D.N.Y. 2013) (collecting cases).

Moreover, courts in the Circuit have generally agreed that a party may also
demonstrate standing to challenge a Rule 17(0) subpoena directed to a non-party based on the
movant’s legitimate interests M, United States v. Giampa, No. S 92 cr 437 (PKL), 1992
WL 296440, at *1 (S.D.N.Y. Oct. 7, 1992) (holding government had standing to move to quash
Rule 17(0) subpoenas to non-party witness based on the government’s “interest in preventing any
undue lengthening of the trial, any undue harassment of [the witness] and his family, and any
prejudicial over-emphasis on [the witness’s] credibility”); United States v. Nachamie, 91 F.
Supp. 2d 5 52, 559~60 (S.D.N.Y. 2000) (Scheindlin, J.) (holding government lacked standing
because it had “not asserted a legitimate interest,” unlike other cases where the government
showed standing, for example, by asserting that it was protecting work product or vulnerable
witnesses). Preventing the undue harassment of a cooperating witness is a legitimate
governmental interest giving rise to standing in this context §ee United States v. Nelctalcv, Nc.
82 03 cr 828 (PKL), 2004 WL 1574721, at *1 (S.D.N.Y. July 14, 2004) (citing Qia"mp_a, 1992

WL 296440, at *241, and Nachamie, 91 F. Supp. 2d at 560).

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 5 of 10

Against these background rules, a number of courts within this Circuit have
proceeded to consider the merits of a motion to quash irrespective of any determination on

standing because of an independent duty of the court to ensure the propriety of Rule 17(c)

 

subpoenas See1 e.g., United States v. Nix, 251 F. Supp. 3d 555, 562 (W.D.N.Y. 2017)
(discussing government’s basis for standing and noting that, regardless of standing, the court has
a duty to review subpoenas); United States v. Vasquez, 258 F.R.D. 68, 71¥72 (E.D.N.Y. 2009)
(same); United States v. Khan, No. 06 cr 255 (DLI), 2009 WL 152582, at *6 (B.D.N.Y. lan. 20,
2009) (not expressly deciding standing and proceeding to merits based on dutng United States v.
Weissman, No. 01 cr 529 (BSJ), 2002 WL 31875410, at *1 n.l (S.D.N.Y. Dec. 26, 2002) (same).
The govemment has not put forth any evidence that either Hallac or Wellner
authorized the government to assert his rights, such as by forwarding responsive materials to the
government lnstead, the government argues that it has standing based on its alleged legitimate
interests This Court concludes that the government has standing to move to quash a subpoena
based on its legitimate interests on these facts The Subpoenas are directed to the government’s
cooperating witnesses who are expected to testify at trial. And it is the government upon whom
obligations fall under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S.
150 (1972), and 18 U.S.C. § 3500 with respect to these testifying witnesses The government
has an interest in controlling the timing of disclosures as to a cooperating witness S_ieeng¢, 18
U.S.C. § 3500. These are sufficiently strong and immediate interests to confer standing.
l\/loreover, the Court finds faulty Bergstein’s analysis that the government lacks
standing because “[n]one ofthe[] situations” listed in Nachamie, 91 F. Supp. 2d at 558-560,
apply. (Dkt. 164 at 7). Setting aside that Nachamie is not binding on this Court, the Nachamie

court did not urge against applying the legitimate interest analysis adopted by Giampa to new

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 6 of 10

fact patterns-it simply advised courts to avoid doing so uncritically. Nachamie, 91 F. Supp. 2d
at 560 (reasoning that uncritical application would ensure government always has standing
“merely by claiming that the recipient might become a witness”). Further, to the extent the
Nachamie court found instructive prior cases on standing, it agreed that when subpoenaed
individuals “have been publicly identified by the [g] overnment as trial witnesses,” that factor
speaks to the government’s legitimate interests in “preventing undue lengthening of the trial,
undue harassment of its witness, and prejudicial overemphasis on [the witness’] credibility.” _S_e_e
_ii_ll (quoting Unitcd States v. Raineri, 670 F.2d 702, 712 (7th Cir. 1982)).

Even if the Court had doubts about the government’s standing, the Court
recognizes a duty to ensure the propriety of Rule 17(0) subpoenas like other courts in this
Circuit. S_%M, ljg, 251 F. Supp. at 562; las_gM, 258 F.R.D. at 71~72; K_h”amn, 2009 WL
1525 82, at *6; Weissman, 2002 WL 318'75410, at *1 n.1. This Court approved the issuance of
Subpoenas expressly “without prejudice to the rights of the subpoenaed persons or entities.”
(chts. 145, 149). With the benefit of briefing from both sides, the Court is now in a better
position to assess the appropriateness of the Subpoenas and prejudice the rights of such persons

11. Pronrietv of the Subpoenas

A subpoena issued pursuant to Rule 17(c) “may order the witness to produce”
designated “boolrs, papers documents data, or other objects,” Rule 17(0)(1), Fed. R. Crim. P., so
long as they are “evidentiary,” Bowman Dairv Co. v. United States, 341 U.S. 214, 219 (1951).
Rule 17(0) further provides that “[t]he court may-direct the witness to produce the designated
items in court before trial or before they are to be offered in evidence When the items arrive,
the court may permit the parties and their attorneys to inspect all or part of them.” Rule 17(0)(1),

Fed. R. Crirn. P.

 

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 7 of 10

Rule 17(0) operates to “expedite the trial by providing a time and place before
trial for the inspection of subpoenaed materials,” rather than “provide a means of discovery for
criminal cases.” United States v. Nixon, 418 U.S. 683, 698#99 (1974) (citing Bowman Dairy,
341 U.S. at 220)). ln other words, Rule 17(0) was not intended to undermine the limited right of
discovery under Rule 16, Fed. R. Crim. P., by providing “a right of discovery in the broadest
terms” Bowman Dairy, 341 U.S. at 220. Consistent with this limited purpose, Rule 17(0)
further provides that, “foln motion made promptly, the court may quash or modify the subpoena
if compliance would be unreasonable or oppressive.” Rule 17(0)(2), Fed. R. Crim. P. The party
seeking compliance with the subpoena must show:

(1) that the documents are evidentiary and relevant; (2) that they

are not otherwise procurable reasonably in advance of trial by

exercise of due diligence; (3) that the party cannot properly prepare

for trial without such production and inspection in advance of trial

and that the failure to obtain such inspection may tend

unreasonably to delay the trial; and (4) that the application is made

in good faith and is not intended as a general ‘fishing expedition.’

Nixon, 418 U.S. at 699-700 (citing United States v. lozia, 13 F.R.D. 335, 338 (S.D.N.Y. 1952)
(Weinfeld, J.)). A court may quash a motion for a Rule 17(c) subpoena based on a failure to
satisfy one of these prongs ch (listing requirements conjunctively); Le United States v. ,
Conway, 615 F. App’x 46, 48~49 (2d Cir. 2015) (holding that court “did not err” in denying
subpoena when claim “fail[ed] to satisfy the relevancy prong of United States v. Nixon”).

Although Bergstein contends that his motion still satisfies the Nixon standard, he
first suggests that the Court should instead apply the more lenient standard articulated in United
States v. Tucl<er, 249 F.R.D. 58, 66 (S.D.N.Y. 2008) (Scheindlin, J.), for criminal defendants

requesting production from a non-party on the eve of trial and when c‘the defendant has an

articulable suspicion that the documents may be material to his defense.” “[T]he overwhelming

 

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 8 of 10

majority of district courts in the Sccond Circuit have [instead] applied the Nixon analysis to such

 

requests” because the relaxed ILl{er standard is not prevailing law of the Circuit. United States
y._P_e_na, No. 15 cr 551 (AIN), 2016 WL 8735699, at *1 (S.D.N.Y. Feb. 12, 2016) (citing figured
States v. Barnes, No. S9 04 cr 186 (SCR), 2008 WL 9359654, at *3 (S.D.N.Y. Apr. 2, 2008)); gil
United States v. Stein, 488 F. Supp. 2d 350, 365 (S.D.N.Y. 2007) (acknowledging courts’
application of §__i&n “almost without exception,” but questioning its “mindless application in
circumstances to which the principle never was intended to apply”). The Second Circuit

declined to decide whether the Tucl<er standard is more appropriate than the Nixon standard in

 

this context when a defendant’s “speculative showing failed to meet even the ‘articulable
suspicion’ requirement of Tucker.” United States v. Barnes, 560 F. App’x 36, 40 n.l (2d Cir.
2014) (citing Iuckj, 249 F.R.D. at 66).

With no compelling reason to reject the prevailing law of the Circuit regarding
defense subpoenas to non-parties, this Court applies the l\_liggon standard to the Subpoenas Under
1_\_1_i§)n, Bergstein failed to make the requisite showing that (i) the materials sought by the
Subpoenas are not otherwise procurable reasonably in advance of trial and (ii) the Subpoenas are
not intended as a general “fishing expedition.” _S_e§ l\lj;;@, 418 U.S. at 699»700.

First, the proponent of a Rule 17(c) subpoena may have reason to believe certain
materials exist, but the proponent must still “specifically identify the materials [the proponent] is
seeking to bear out his [or her] suspicions under Rule 17(0).” R<La, 2016 WL 8735699, at *3 n
(applying l\li_xo_n, 418 U.S. at 699-700). When “many” of the subpoenaed materials are
obtainable through the discovery process, a subpoena contravenes m’s requirement that
subpoenaed materials must not be otherwise procurable in advance of trial by the exercise of due

diligence game United States v. Boylc, No. 08 cr 523 (CM), 2009 WL 484436, at *3 (S.D.N.Y.

 

 

Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 9 of 10

Feb. 24, 2009) (applying m, 418 U.S. at 699~700, and noting that “little or no diligence”
would be required to procure discoverable subpoenaed material from the government in advance
of trial). A party’s Rule 17(c) subpoena may not evade specificity in the hope “that something
useful will turn up” in its reach. §M, 2008 WL 93 59654, at *4 (quoting United States v.
Sawinski, No. 00 cr 499 (RPP), 2000 WL 1702032, at *2 (S.D.N.Y. Nov. 14, 2000)).

l-lere, Bergstein attempts to reach “all documents” and c‘all communications”
within defined categories from Hallac and Wellncr. While there may be circumstances in which
a request for “all documents” or “all communications” in certain categories is appropriate under
Rule 17(0), the Subpoenas do not fit that description The parties do not contest that there is
overlap between the reach of the Subpoenas and the government’s productions during discovery
To the extent that Bergstein argues he is entitled to “all” and not “most” of the subpoenaed
materials he would be entitled to reach by subpoena those unobtained materials that he is able to
reasonably specify as part of his burden under wit Neither the Subpoenas nor Bergstein in
his briefing successfully distinguishes the materials that the government already produced from
the materials to which Bergstein claims entitlement by subpoena2 N_ix@’s specificity
requirement does not permit a defendant to force a non-party by subpoena to replicate all or part
of the government’ s discovery productions in the hope that the non-party’s production will
produce something more.

Additionally, Bergstein’s contention that the subpoenaed material “may not be
exactly the same as what the government sought from [Hallac and Wellner]” (cht. 164 at 7)

further runs afoul ofNixon by suggesting that the Subpoerias are part of a “fishing expedition”

 

2 Bergstein offers two illustrative examples of unobtained evidence that he seeks through the Subpoenas. (Dkt. 164
at 6). Examples of some specific materials the Subpoenas seek does not make the Subpoenas themselves
sufficiently specific. Moreover, despite highlighting these examples Bergstein does not address whether or to what
extent these exemplary materials are themselves admissible and relevant under Nixon.

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Case 1:16-cr-00746-PKC Document 182 Filed 12/28/17 Page 10 of 10

for unspecified materials Accordingly, Bergstein failed to show that the Subpoenas satisfy
Mn’s requirements and it therefore would be unreasonable or oppressive within the meaning
of Rule 17(0)(2), Fed. R. Crim. P, to require compliance with the Subpoenas.

As a final matter included the instant motion, Bergstein claims that “the
government is not meeting its obligations to provide exculpatory information as to [Hallac and
Welhier]” by failing to produce “any reports or written statements” by them in meetings with
government agents (Dkt. 164 at 2). The government acknowledged its obligations under _E»;@y
v. Mary_land, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and 18 U.S.C.

§ 35003 several times during this case (February 2, 2017 Tr. (Dkt. 59) 15:6~16:16, 20:24~22:1,
26:12~28:10; l\/lay 4, 2017 Ti'. (cht. 110) 9214#16; 28:24-29:12), and does so again in the instant
motion (Dkt. 174 at 7 n.4). Under the present circumstances the Court has no reason to doubt
the government’s representation of compliance with its obligations

CONCLUSION

For the reasons set forth above, the government’s motion to quash the Rule l7(c)
subpoenas directed to Hallac and Wellner is GRANTED. The Court reserves judgment on the

government’s motion to quash the Rule 17(c) subpoena directed to Parmar.

SO ORDERED.

P. Kevin Castel
United States District ludge

Dated: New York, New York
December 28, 2017

 

3 Pursuant to an Order of the Court, the government advised the Court as to when it would produce its section 3500
materials (Dkt. 160). It agreed to do so, subject to certain conditions three weeks before trial. (Dkt. 160 at 1 n.2).

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